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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

 

Northern District of “Aue

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United States of America ) SU.
v. N TERK, cal 50
. ; ) CA
Jose Diaz, a/k/a Jose Padilla , IA
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 23, 2019 in the county of San Francisco in the
Northern District of California , the defendant(s) violated:
Code Section , Offense Description
21 U.S.C. 841(a)(1) and (b)(1)(C) Distribution of Narcotics, to wit, cocaine base

Maximum 20 Years’ Imprisonment; Maximum Fine of $20 million; Maximum
term of Supervised Release of life; Mandatory $100 Special Assessment

This criminal complaint is based on these facts:

Please see attached affidavit of DEA Special Agent Brandon Cahill

 
  

Approved as to form
AUSA Ross Weingart

i Continued on the attached sheet.
Complainant’s signature

Brandon Cahill, DEA Special Agent

Printed name and title

 

Sworn to before me and signed in my presence.

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Judge's signature

City and state: San Francisco, California Hon. Elizabeth D. Laporte, Magistrate Judge
Printed name and title

 

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Brandon Cahill, a Special Agent with the Drug Enforcement Admiifistration (DEA),
being duly sworn, depose and state:

I. INTRODUCTION

1. I make this Affidavit in support of a Criminal Complaint against JOSE DIAZ
a/k/a Jose Padilla., for a violation of Title 21, United States Code, Sections 841(a)(1)
and(b)(1)(C), possession with intent to distribute cocaine, a Schedule IJ controlled substance.

2. The facts set forth in this Affidavit are based on my own personal knowledge,
knowledge obtained from other individuals during my participation in this investigation,

including other law enforcement officers, my review of documents and computer records related °

to this investigation, communications with others who have personal knowledge of the events
and the circumstances described herein, and information gained through my training and
experience.

3, Because this Affidavit is submitted for the limited purpose of establishing
probable cause in support of a Complaint, it does not set forth each and every fact that I, or
others, have learned during the course of the investigation.

U. AGENT BACKGROUND

4. I am an “investigative or law enforcement officer of the United States” within the
meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States
who is empowered by law to conduct investigations of, and to make arrests for, offenses
enumerated in Title 18, United States Code, Section 2516.

5. I am employed by the United States Department of Justice, Drug Enforcement
Administration (“DEA”), as a Special Agent and have been so employed since August 2015. I
am assigned to the San Francisco Divisional Office.

6. I received 20 weeks of specialized drug law enforcement training at the DEA
training academy in Quantico, Virginia, from August 2015 to January 2016. The training
curriculum covered all aspects of drug investigations, including identification of controlled
substances, physical and electronic surveillance, utilization of confidential sources, interview
techniques, undercover operations, financial investigations, money laundering techniques, and
the general operation of drug trafficking organizations. This training included instruction in the
investigation of federal drug violations, including, but not limited to Title 21, United States
Code, Sections 841 and 846. Additionally, this training included several hundred hours of

comprehensive, formalized instruction in, but not limited to, controlled substances investigations,

drug identification, detection, interdiction, financial investigations and money laundering,
identification and seizure of drug related assets, undercover operations, and electronic and
physical surveillance procedures. My employment background also includes over a year with
the United States Secret Service Uniformed Division.
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7. During the course of my employment as a DEA Special Agent, I have participated
in many controlled substance investigations either as a case agent or in a supporting role. I have
debriefed confidential sources and witnesses who had personal knowledge regarding drug
trafficking organizations. In addition, I have discussed with numerous law enforcement officers
and confidential sources the methods and practices used by drug traffickers. I have also
participated in many aspects of drug investigations including, but not limited to, undercover
operations, telephone toll analysis, records research, physical surveillance, and assisted in court
ordered wiretap investigations. Moreover, I have assisted in the execution of numerous federal
and state search and arrest warrants related to illegal activities involving controlled substances
that resulted in the arrest of suspects and seizure of controlled substances.

8. I have monitored, conducted surveillance, or otherwise participated in an
investigation that utilized wire interceptions. I have participated in writing, editing, and
reviewing federal affidavits made in support of electronic interceptions.

9. In addition, I have participated, in connection with these and other cases, in
approximately two follow-up investigations concerning the concealment of assets, money, bank
records, etc., and the identification of co-conspirators through the use of drug ledgers, telephone
records and bills, photographs, and financial records.

10. Through my training, education, experience, and my conversations with other
agents and officers who conduct drug investigations, I have become familiar with drug
traffickers’ use of mobile telephones, and their use of numerical codes and code words to
conduct their business. I have become familiar with drug traffickers’ methods of operation,
including, but not limited to, the manufacturing, distribution, storage, and transportation of
controlled substances, and the methods used by drug traffickers to collect, transport, safeguard,
remit, and/or launder drug proceeds. By virtue of my training and experience, and through my
conversations with other agents and officers who conduct drug investigations, I have become
familiar with the methods used by drug traffickers to import, transport, safeguard, and distribute
drugs, and the methods used by drug traffickers to collect, transport, safeguard, remit, and/or
launder drug proceeds.

III. APPLICABLE LAW

11. Section 841 of Title 21 of the United States Code provides, in pertinent part: “it
shall be unlawful for any person knowingly or intentionally .. . to manufacture, distribute, or
dispense, or possess with intent to manufacture, distribute, or dispense, a controlled substance[.]”

IV. FACTS ESTABLISHING PROBABLE CAUSE
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12. OnJuly yo 2019, I and other law enforcement officers conducted a “Buy Walk”
operation in the area of 8 Street and Mission Street in San Francisco, which is located in the
Tenderloin neighborhood. A San Francisco Police Department (“SFPD”) officer was the
designated “buy” officer and was acting undercover (the “UC”). The UC was provided with
Marked City Funds to be used in the operation to purchase narcotics.
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13. SFPD officers conducted surveillance and video recorded the following events. I
have reviewed that video footage.

14. At approximately 8:00 PM, the UC was standing on the west sidewalk, north of
Mission street, when he observed a subject later identified as JOSE DIAZ a/k/a Jose Padilla
walking towards him.

15. | The UC approached DIAZ and asked him to purchase five nickels of “ROCA,”
which is slang for crack cocaine for 21 dollars. The UC gave DIAZ $21 from the marked City
Funds that he had on him and DIAZ counted the money. DIAZ and the UC then walked together
on 8" Street. During the walk, DIAZ removed from his mouth five bindles of suspected cocaine
base, a/k/a crack cocaine. The five bindles were individually wrapped in clear plastic baggies.
DIAZ spat them from his mouth and put them in the UC’s hand. The UC then walked away on
8" Street with the suspected crack cocaine, thus completing the transaction.

16. Shortly after the transaction, SFPD officers stopped DIAZ and placed him under
arrest at 8 Street and Mission Street in order to positively identify him. The UC arrived to that
location and positively identified DIAZ as the individual from whom he has just purchases
suspected cocaine base.

17. Lawenforcement officers on the scene conducted a field test using a TruNarc
device on one of the baggies containing a substance suspected of being cocaine that DIAZ sold
to the UC. Those tests indicated a positive result that the baggie contained cocaine base.

18. SFPD officers located a cell phone on DIAZ. DIAZ provided his cell phone
number to officers. DIAZ also provided the officers with his address in San Francisco. DIAZ
was then placed under arrest by SFPD officers and transported to the SFPD Tenderloin Station.

19. Based on my training and on conversations other law enforcement officers, and
based on a review of the video surveillance footage from the narcotics transaction described
above, I believe DIAZ possess cocaine base for sale and did in fact sell it to the UC, who was
working as an undercover officer. I also know from my training and experience that drug
traffickers often package drugs for potential customers in plastic baggies so they can be sold
separately to customers. The cocaine base that DIAZ sold to the UC was packaged in this way.

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V. CONCLUSION

20. Based upon the information contained within this Affidavit, I submit that I have
established probable cause to believe that JOSE DIAZ has violated Title 21, United States Code,
Section 841(a)(1) and (b)(1)(C), possession with intent to distribute cocaine base.

I declare under penalty of perjury that the statements above are true and correct to the

best of my knowledge and belief.

Brandon Cahill
Special Agent
Drug Enforcement Administration

"Gy and sworn to before me on August = 2019.

HONORABLE ELIZABETH D. LAPORTE
UNITED STATES CHIEF MAGISTRATE JUDGE

 
